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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
___________________________________________
TINA CABISCA.
                        Plaintiff
      v                                                SUMMONS
                                                       Case No.
CITY OF ROCHESTER, NEW YORK,
DARYL HOGG, JAYSON PRINZI, NOLAN WENGERT,
CARRIE BERKSTRESSER AND K. TURNER

                            Defendants


 ______________________________________________

To the above named Defendants
       City of Rochester
       30 Church Street                  City of Rochester Police Department
       Rochester, NY 14614               C/o City of Rochester
                                         30 Church Street
                                         Rochester, New York 14614

DARYL HOGG                               JAYSON PRINZI
City of Rochester Police Department      City of Rochester Police Department
C/o City of Rochester                    C/o City of Rochester
30 Church Street                         30 Church Street
Rochester, New York 14614                Rochester, New York 14614

NOLAN WENGERT                            CARRIE BERKSTRESSER
City of Rochester Police Department      City of Rochester Police Department
C/o City of Rochester                    C/o City of Rochester
30 Church Street                         30 Church Street
Rochester, New York 14614                Rochester, New York 14614

K. TURNER
City of Rochester Police Department
C/o City of Rochester
30 Church Street
Rochester, New York 14614
     Case 6:14-cv-06485-JWF Document 1-2 Filed 08/22/14 Page 2 of 2



       YOU ARE HEREBY SUMMONED and required to Serve upon Plaintiff’s
Attorney

        E. ROBERT FUSSELL
        46 Wolcott Street, Suite One
        Le Roy New York 14482
        585 768 2240
        an Answer to the Complaint which is herewith served upon you, within 20 days
after service of this Summons upon you, exclusive of the day of service. If you fail to do
so, Judgment will be taken against you by default for the relief demanded in the
Complaint. You must also file your answer with the Clerk of this Court within a
reasonable period of time after service,
                                            Dated:
 _________________________                          ____________________
Clerk


 _________________________
(By) Deputy Clerk
